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                            BANKRUPTCY RECOVERY GROUP, LLC
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                     5      Las Vegas, Nevada 89119
                            Tel: 702-483-6126
                     6      Attorneys for Troy S. Fox, Chapter 7 Trustee
                     7                              UNITED STATES BANKRUPTCY COURT
                                                         FOR THE DISTRICT OF NEVADA
                     8
                            IN RE:                                          BK-20-12878-abl
                     9                                                      Chapter 7 (Lead Case)
                            In re METAL PARTNERS REBAR, LLC,
                   10           Affects this Debtor.                        (Jointly Administered)
                   11

                   12       In re BGD LV HOLDINGS, LLC,                     BK-20-12876-abl
                                Affects this Debtor.
                   13                                                       Chapter 7

                   14
                            In re BRG HOLDINGS, LLC,                        BK-20-12879-abl
                   15           Affects this Debtor.                        Chapter 7
                   16
                            In re BCG OWNCO, LLC,                           BK-20-12880-abl
                   17           Affects this Debtor.                        Chapter 7
                   18

                   19       TROY S. FOX, CHAPTER 7 TRUSTEE,                 Adv. Pro. No.
                   20                Plaintiff,
                   21       v.

                   22       AMP/CPL - THE PROPERTY LLC,

                   23                Defendant.
                   24

                   25                             COMPLAINT TO AVOID AND RECOVER TRANSFERS
                                                  PURSUANT TO 11 U.S.C. §§ 544, 547, 548 AND 550 AND
                   26                             TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502

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                     1              Troy S. Fox, as Chapter 7 Trustee (“Plaintiff”), files this Complaint to Avoid and Recover

                     2      Transfers Pursuant to 11 U.S.C. §§ 544, 547, 548 and 550 and to Disallow Claims Pursuant to 11

                     3      U.S.C. § 502 (“Complaint”), and alleges as follows:

                     4                                                Jurisdiction and Venue
                     5              1.       On June 16, 2020, Metal Partners Rebar, LLC (“Metal Partners”) (Case No. 20-
                     6
                            12878-abl); BGD LV Holdings, LLC (Case No. 20-12876-abl); BRG Holding, LLC (Case No. 20-
                     7
                            12879-abl) and BCG Ownco, LLC (Case No. 20-12880-abl) (referred to together, respectively, as
                     8
                            the “Debtors” and the “Cases”) each filed a voluntary petition for relief under Chapter 11 of the
                     9
                            United States Bankruptcy Code in the United States Bankruptcy Court for the District of Nevada
                   10

                   11       (“Bankruptcy Court”).1 On April 1, 2022, the Court entered an Order Granting Debtors’ Motion

                   12       to Convert Chapter 11 Cases to Chapter 7 Pursuant to 11 U.S.C. §1112, thereby converting the
                   13       Cases to Chapter 7.
                   14
                                    2.       This adversary proceeding arises out of and relates to the Cases and is a core
                   15
                            proceeding pursuant to 28 U.S.C. § 157(b)(2), as it involves the avoidance and recovery of certain
                   16
                            transfers pursuant to 11 U.S.C. §§ 544, 547, 548 and 550.
                   17

                   18               3.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

                   19       157(a) and 1334(b).

                   20               4.       Venue is proper in this Court pursuant to 28 U.S.C. § 1409.
                   21                                                           Parties
                   22
                                    5.       Plaintiff is the trustee of Debtors’ jointly administered Chapter 7 cases and has the
                   23
                            right and power to prosecute Debtors’ Chapter 5 claims.
                   24
                                    6.       AMP/CPL - The Property LLC (“Defendant”) is a pre-petition creditor of Metal
                   25

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                            1
                              On June 19, 2020, the Bankruptcy Court entered an Order Directing Joint Administration of Chapter 11 Cases,
                   27       thereby authorizing the joint administration of the Cases. In re Metal Partners Rebar, LLC, Case No. 20-12878-abl,
                            serves as the lead case.
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                            Partners.
                     1

                     2             7.      Defendant may be served with a copy of the summons and Complaint, pursuant to

                     3      Fed. R. Bankr. P. 7004, through its registered agent, CT Corporation System, at 1200 South Pine

                     4      Island Road, Plantation, FL 33324.
                     5                                                  Transfers
                     6
                                   8.      On information and belief, Defendant provided goods and/or services to Metal
                     7
                            Partners.
                     8
                                   9.      During the 90 days before the Petition Date, Metal Partners made certain transfers
                     9

                   10       of its interest in property to Defendant (“Preferential Transfers”) in satisfaction of obligations

                   11       owed to Defendant prior to the date of the Preferential Transfers.

                   12
                                   10.     The Preferential Transfers total no less than $25,818.07 and include, but are not
                   13
                            limited to, the payments identified in Exhibit “A,” which is attached hereto and incorporated herein
                   14
                            by reference, each of which was made from one or more of Metal Partners’ bank accounts
                   15
                            (“Identified Transfers” and, together with the Preferential Transfers, the “Transfers”).
                   16
                                                               Demand and Due Diligence
                   17
                                   11.     Plaintiff sent a letter to Defendant demanding that it return the Identified Transfers
                   18
                            or provide information substantiating any defenses it might have.
                   19
                                   12.     To date, Defendant has failed to return the Identified Transfers or provide evidence
                   20
                            establishing a complete defense under 11 U.S.C. § 547(c).
                   21
                                   13.     Before filing this Complaint, and after considering Debtors’ records, the dockets in
                   22
                            the Cases and any information provided by Defendant, Plaintiff evaluated potential defenses under
                   23
                            11 U.S.C. § 547(c).
                   24
                            ...
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                            ...
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                                                                         COUNT I
                     1
                                            (Avoidance of Preferential Transfers Pursuant to 11 U.S.C. § 547)
                     2

                     3                14.    Plaintiff hereby incorporates and re-alleges the allegations contained in Paragraphs

                     4      1 through 13 of the Complaint as if the same were fully repeated herein.

                     5                15.    The Transfers were of an interest in property of Metal Partners.
                     6                16.    The Transfers were made to or for the benefit of Defendant.
                     7
                                      17.    The Transfers were made on account of antecedent debts owed by Metal Partners
                     8
                            to Defendant before the Transfers were made.
                     9
                                      18.    The Transfers were made while Metal Partners was insolvent, such insolvency
                   10

                   11       being presumed pursuant to 11 U.S.C. § 547(f).

                   12                 19.    The Transfers were made within ninety days before the Petition Date.

                   13                 20.    The Cases are currently administratively insolvent. As a result, unsecured creditors
                   14
                            will not receive full payment on their claims. Accordingly, the Transfers enabled Defendant to
                   15
                            receive more than it would receive (i) in Metal Partners Chapter 7 case, (ii) had the Transfers had
                   16
                            not been made, and (iii) if Defendant received payment of its claim to the extent allowed by the
                   17
                            Bankruptcy Code.
                   18

                   19                 21.    Based upon the foregoing, the Transfers are avoidable pursuant to 11 U.S.C. §

                   20       547(b).
                   21                                                    COUNT II
                   22
                                            (Avoidance of Fraudulent Transfers – 11 U.S.C. §§ 544 and/or 548)
                   23
                                      22.    Plaintiff hereby incorporates and re-alleges the allegations contained in Paragraphs
                   24
                            1 through 21 of the Complaint as if the same were fully repeated herein.
                   25

                   26                 23.    In the alternative, and subject to proof, to the extent one or more of the Transfers

                   27       were made in satisfaction of obligations owed to Defendant by third-parties, Metal Partners did

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                            not receive reasonably equivalent value in exchange for such transfer(s) (“Potentially Fraudulent
                     1

                     2      Transfers”) and made such transfers while Metal Partners was insolvent. 2

                     3              24.      Based upon the foregoing, the Potentially Fraudulent Transfers are avoidable

                     4      pursuant to 11 U.S.C. § 544 and/or 548.
                     5                                                        COUNT III
                     6
                                              (Recovery of Avoided Transfers Pursuant to 11 U.S.C. § 550)
                     7

                     8              25.      Plaintiff hereby incorporates and re-alleges the allegations contained in Paragraphs

                     9      1 through 24 of the Complaint as if the same were fully repeated herein.

                   10               26.      Defendant was the initial transferee of the Transfers and Potentially Fraudulent

                   11       Transfers (together, the “Avoided Transfers”).

                   12               27.      Defendant was the entity for whose benefit the Avoided Transfers were made.

                   13               28.      Based upon the foregoing, Plaintiff is entitled to recover the Avoided Transfers or

                   14       their value from Defendant pursuant to 11 U.S.C. § 550(a).

                   15                                                         COUNT IV

                   16                             (Disallowance of Claim Pursuant to 11 U.S.C. § 502(d))

                   17               29.      Plaintiff hereby incorporates and re-alleges the allegations contained in Paragraphs

                   18       1 through 28 of the Complaint as if the same were fully repeated herein.

                   19               30.      Defendant is the transferee of the Avoided Transfers.

                   20               31.      Defendant has not returned the Avoided Transfers to Plaintiff.

                   21               32.      Based upon the foregoing, and pursuant to 11 U.S.C. § 502(d) and/or (j),

                   22       Defendant’s claims in this case, if any, must be disallowed until Defendant returns to Plaintiff the

                   23       Avoided Transfers, plus any interest, costs and fees permitted by law.

                   24

                   25
                            2
                              To the extent that discovery or other exchanges of information reveal that Metal Partners made fraudulent transfers
                   26       to Defendant during the applicable statute of limitations, Plaintiff intends to amend this Complaint to include any
                            such transfers made during the applicable statute of limitations but not during the ninety-days before the Petition
                   27       Date and hereby incorporates any such transfers into the definition of Potentially Fraudulent Transfers.

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                     1                                            Reservation of Rights

                     2             33.     This Complaint is intended to seek recovery of all transfers avoidable under

                     3      Chapter 5 of Title 11 not specifically identified in the Complaint, including, without limitation,

                     4      any payments received during the applicable preference period or applicable fraudulent transfer

                     5      limitation period. Plaintiff reserves the right to amend this Complaint if additional avoidable

                     6      transfers are revealed during discovery, including, but not limited to, any claims arising under

                     7      Chapter 5 of Title 11 of the United States Code.

                     8             WHEREFORE, Plaintiff respectfully requests that this Court:

                     9                a.   Find that the Transfers are avoidable pursuant to 11 U.S.C. § 547(b);

                   10                 b.   Find that the Potentially Fraudulent Transfers are avoidable under 11 U.S.C. §§ 544

                   11                      and/or 548;

                   12                 c.   Find that Plaintiff is entitled to recover the Avoided Transfers or their value

                   13                      pursuant to 11 U.S.C. § 550 and enter judgment against the Defendant and in favor

                   14                      of Plaintiff in an amount equal to the Avoided Transfers, plus all interest, costs and

                   15                      attorneys’ fees as may be allowed by law;

                   16                 d.   Disallow any claim filed by Defendant pursuant to 11 U.S.C. §§ 502(d) and/or (j)

                   17                      until Defendant returns any Avoided Transfers; and

                   18                 e.   Grant any further relief that the Court deems necessary and proper.

                   19              Dated this 22nd day of March, 2023.
                                                                          BANKRUPTCY RECOVERY GROUP, LLC
                   20

                   21                                                     By: /s/ Talitha Gray Kozlowski__
                                                                             TALITHA GRAY KOZLOWSKI, ESQ.
                   22                                                        GARRETT NYE, ESQ.
                                                                             7251 Amigo Street, Suite 210
                   23                                                        Las Vegas, Nevada 89119
                                                                             Attorneys for Troy S. Fox, Chapter 7 Trustee
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                                                              EXHIBIT A
                     1
                                                        Metal Partners Rebar LLC
                     2
                                         Payments made to AMP/CPL - THE PROPERTY LLC
                     3
                                                                                          Payment
                     4                  Payment Date                Check Number           Amount
                     5                    4/14/2020                     36739             $7,725.97
                                           5/7/2020                     37041             $9,046.05
                     6                     6/1/2020                     37407             $9,046.05

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